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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

ANDRES ORTEGA DIAZ                                                             PLAINTIFF

V.                              CASE NO. 5:25-CV-5020

SHERIFF JAY CANTRELL,
Washington County, Arkansas;
and JOHN DOE MEDICAL CARE PROVIDER,
Benton County Detention Center                                             DEFENDANTS

                                         ORDER

       Comes on for consideration the Report and Recommendation (“R&R”) (Doc. 10)

filed in this case on April 14, 2024, by the Honorable Christy Comstock, United States

Magistrate Judge for the Western District of Arkansas. No party filed objections to the

R&R, and the time to file objections has now passed.

       IT IS THEREFORE ORDERED that the R&R is ADOPTED IN ITS ENTIRETY, and

the case is DISMISSED WITHOUT PREJUDICE based on Plaintiff’s failure to prosecute

this case, his failure to obey the orders of the Court, and his failure to comply with Local

Rule 5.5(c)(2).

       IT IS SO ORDERED on this 2nd day of May, 2025.


                                          /s/ Timothy L. Brooks
                                          TIMOTHY L. BROOKS
                                          UNITED STATES DISTRICT JUDGE
